                          Case 8:21-cr-00348-DLB Document 56 Filed 08/03/23 Page 1 of 2
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                                                     August 3, 2023

          Filed via ECF

          Hon. Deborah L. Boardman
          U.S. District Court
          65400 Cherrywood Lane
          Greenbelt, MD 20770

                    Re:      United States v. Brian McQuade
                             Criminal Case No. DLB-21-0348

          Dear Judge Boardman:

                  I write to update the Court with sad news. Mr. McQuade’s wife, Elizabeth McQuade, died
          of an intercranial hemorrhage on July 16, 2023. I have provided the death certificate to Assistant
          United States Attorney Jessica Collins and Pretrial Services Officer Pamela Nieva. In addition to
          being devastating news for Mr. McQuade and his children, this has some legal consequence for
          this case because on January 25, 2023, the Court entered a Modified/Supplemental Order Setting
          Conditions of Release placing Mr. McQuade in the custody of his wife. ECF No. 39.

                  Mr. McQuade remains in a rehabilitation facility, and his condition has not improved from
          the status I provided to the Court on June 28, 2023, and as discussed during the July 5, 2023, status
          call with the Court. Ms. Nieva recently visited Mr. McQuade at the rehabilitation facility and
          confirmed he remains bed bound. My understanding from Mr. McQuade’s son is that he has been
          approved for in-home hospice because his condition is not improving and is not expected to
          improve. Mr. McQuade’s sons plan to move into the family home to take care of their father, with
          assistance from in-home hospice providers. Mr. McQuade’s sons will bring him home from the
          rehabilitation facility once in-home hospice care can be arranged.

                 I have discussed with Ms. Nieva and Ms. Collins whether a different third-party custodian
          should be substituted for Mrs. McQuade. They are in agreement that a third-party custodian is not
          necessary at this time. Indeed, Ms. Nieva does not feel that Mr. McQuade even needs to be
          supervised by pretrial services given his condition.

                 Accordingly, I ask the Court to sign an order removing the condition that placed Mr.
          McQuade in his wife’s custody. Because Mrs. McQuade had been the point of contact for Pretrial
          Services given Mr. McQuade condition, undersigned counsel is willing to keep Pretrial Services
          updated as to any change in his residence. A proposed order directing as much is attached for the
          Court’s convenience.
          Case 8:21-cr-00348-DLB Document 56 Filed 08/03/23 Page 2 of 2
Status Report
August 3, 2023
Page 2


       I am working on getting an expert report to Ms. Collins regarding Mr. McQuade’s
competency so that we can discuss how the case can and should proceed going forward. As
previously discussed on the July 5 conference call, we will update the Court no later than
September 1, 2023.

                                          Respectfully,

                                              /s/

                                          Katherine Tang Newberger
                                          First Assistant Federal Public Defender


cc:   Jessica Collins, Assistant United States Attorneys
      Pamela Nieva, U.S. Probation & Pretrial Services
